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Exhibit
Case 3:20-cv-00719- Geet RB, Document 1-3 Filed 11/09/20 Page 2 of 3

 

 

 

 

 

 

 

 

 

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(] ESTIMATE (VALID FoR 30 DAYS)
(DATE LISERVICE [_]WILL CALL [PHONE i
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ao, = MODEL

SERIAL
ITEM TO BE SERVICED NATURE OF SERVICE REQUEST
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OTY. | PART # DESCRIPTION OF PARTS OB MATERIALS PRICE AMOUNT
f

TAX

TOTAL
LABOR

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( DATE WANTED DEPOSH RECEWED BY |

 

 

 

 

 

ESTIMATES ARE FOR LABOR ONLY, MATERIAL ADDITIONAL. WE WILL NOT BE RESPONSIBLE FOR LOSS
OR DAMAGE CAUSED BY FIRE, THEFT, TESTING, OR ANY OTHER CAUSES BEYOND OUR CONTROL.

_ Repair Order
AUTHORIZED BY: (Yau phn Ling” ORIGINAL
@etadems: 5084 =a = 09-17

TERMS - NET CAS
NO GOODS HOLD OVER 30 DAYS

 
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